         USDC IN/ND case 2:05-cr-00143-PPS-PRC document 55 filed 01/11/06 page 1 of 3
O AO 245A (Rev. 12/03) Judgment of Acquittal


                                     UNITED STATES DISTRICT COURT
                          Northern             DISTRICT OF                     Indiana

          UNITED STATES OF AMERICA
                                                        JUDGMENT OF ACQUITTAL
                              V.

                 RUDOLFO HEREDIA
                                                        CASE NUMBER: 2:05 CR 143 PS




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




S/Philip P. Simon
Signature of Judge

Philip P. Simon, U.S. District Court Judge
Name and Title of Judge

January 6, 2006
                                   Date
         USDC IN/ND case 2:05-cr-00143-PPS-PRC document 55 filed 01/11/06 page 2 of 3
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